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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

FRANCIS D. JONES, JR., #37566037,                           *
                 Plaintiff
                                                            *
           v.                                                   CIVIL ACTION NO. PJM-05-2998
                                                            *
CLERK OF COURT,
                            Defendant.                     *
                                                        ******

                                         MEMORANDUM OPINION

         On November 2, 2005, Francis D. Jones, Jr., a prisoner confined at the Federal Correctional

Institution in Cumberland, Maryland, filed a complaint under the Freedom of Information Act

(“FOIA), 5 U.S.C. § 552. Plaintiff states that in October of 2005, he wrote to the Clerk of this Court

seeking “copies of the affidavit(s) used to establish probable cause for the search and arrest warrant

given to DCIS and FBI.” An employee of the Clerk’s office wrote back to Plaintiff advising him

that “There is no public record.” In response, Plaintiff has filed the instant complaint seeking copies

of the requested documents under 5 U.S.C. § 552. Paper No. 1.

         Federal courts and the clerks’ offices that receive court pleadings are not “agencies” covered

under the FOIA. Indeed, the FOIA, does not apply to courts of the United States. See 5 U.S.C. §

551; Smith v. United States District Court for the Southern District of Illinois, 956 F.2d 647, 649

n.1 (7th Cir. 1992); see also Cook v. Willingham, 400 F. 2d 885 (10th Cir. 1968); Harris v. United

States, 121 F.R.D. 652, 654 (W.D.N.C. 1988). Therefore, Plaintiff’s FOIA Complaint shall be

dismissed by separate Order.1


Date:      11/8/05                                                 /s/
                                                             PETER J. MESSITTE
                                                        UNITED STATES DISTRICT JUDGE




   1
          Plaintiff did not file the $250.00 civil filing fee or a motion for leave to proceed in forma pauperis. In light
of the dismissal of this matter, he shall not be required to cure this deficiency.
